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                                UNITED    STATES   DISTRICT        COURT
                                 MIDDLE    DISTRICT    OF    FLORIDA
                                          TAMPA    DIVISION


UNITED STATES OF AMERICA,

v.                                             CASE NO.       8:08-CR-423-T-17MAP


MELISSA WILLIS.




                                               ORDER




     This      cause       is   before    the Court     on    the   BOP's    letter dated

April 15, 2011,            as well as the Motion for Clarification (Dkt.
231) and Motion for Ruling                 (Dkt. 232)        filed pro se by Defendant
Willis.       The    BOP's      letter    is   attached      to   this   Order.



     On June 25,            2009,   the Court sentenced Defendant Willis
(Dkts.    186,      189)    to 78 months of incarceration,                  with credit for
time served to be calculated by the BOP,                          and 60 months of
supervised release,              after Defendant Willis entered a guilty plea
(Dkt. 118) to Count I of the Indictment                           (Conspiracy to Possess
with Intent to Distribute 50 grams or More of Methamphetamine).
Counts    2   and    5   were    dismissed.



     On July 21, 2009,              Defendant Willis was sentenced in Florida
to a 4 year term of confinement for Aggravated Assault on a Law
Enforcement Officer,              Obstructing or Opposing an Officer,                 Fleeing
to Elude at High Speed and Possession of Methamphetamine.


     Defendant Willis is currently in state custody,                              and has
submitted a request to the BOP for her federal sentence to run
concurrent to her state sentence.                      The BOP may consider the
request.      See Barden v. Keohane, 921 F.2d 476 (3d Cir. 1990).
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        The BOP has offered the Court an opportunity to state the
Court's position with respect to a retroactive designation.
(Letter dated 4/15/2011 attached).                     If no response is received
within 60 days,       the Bureau will complete its review and make a
decision.     The BOP notes that,               after the sentencing in Case No.
8:08-CR-423-T-17MAP,            Defendant Willis was appropriately returned
to state authorities            in   Florida and the U.S.                District      Court

Judgment was filed as a detainer.


        If the designation is granted,                 Defendant Willis'               release
date will be on or about May 30, 2014.                        If it is denied,
Defendant    Willis'      sentence       will    not   be    calculated         until    she

completes her state sentence and is released to the federal
detainer.



        Defendant Willis filed a pro se Motion to Clarify whether
federal time is being counted while incarcerated in Florida
Department of Corrections.               (Dkt. 231). Defendant Willis says her
state    sentence   of    48    months    was    ordered      to    be    concurrent

coterminous    with      her    federal    sentence         in Case       No.   8:08-CR-423-T-

17MAP.



I.   Discussion



        The Bureau of Prisons has exclusive authority to determine
whether a defendant should receive credit for time spent in
custody before the commencement of a federal sentence.                                   See
United States v.         Williams,       425 F.3d 987,         990       (11'"' Cir.    2005);
Galloway v.    Fisher.         2008 WL 4057803         (N.D.       Fla.    2008).       The

district court may appropriately make recommendations to the
Bureau of Prisons of the type requested by the Bureau's letter of
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  4/15/2011.       See Barden v.         Keohane,   921    F.2d 476     (3d Cir.       1990);
 United States v.          Pinevro,      112 F.3d 43,     45-46    (2d.      Cir.    1997).


         After consideration,            the Court declines to make a

  recommendation to the Bureau of Prisons in response to the letter
 of 4/15/2011.         Because Defendant Willis has requested the Bureau
 of Prisons to make the determination,                    the Court denies

  Defendant's Motion for Clarification and Motion for Ruling as
 moot.     Accordingly,         it is


         ORDERED    that   no    recommendation      is   made    to   the    Bureau    of

 Prisons concerning retroactive designation of the state facility
 for   service of      Defendant        Willis'   federal   sentence.          The   Court

 makes    no determination when service of Defendant                      Willis'      federal

 sentence began and v/hat credit is due to Defendant Willis on that
 sentence.      The Motion for Clarification and Motion for Ruling are
 denied as     moot.



         DONE AND ORDERED in Chambers,              in Tampa,      Florida on this

C5»2g2p day of May, 2011.




 Copies to:

 Maria C. Lopez, AUSA
 Angela B. Wright, Esq.
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Jose A.    Santana,      Chief
Designation and Service Computation Center
Federal    Bureau   of    Prisons
U.S.    Armed Forces Reserve Complex
34 6   Marine   Forces    Drive
Grand Prairie,      Texas         75051

Melissa    Willis
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                                                 U.S. Department of Justice
                                                 Federal Bureau of Prisons


                                                 Designation and Sentence Computation Center


                                                 U.S. Armed Forces Reserve Complex
                                                 346 Marine Forces Drive
                                                 Grand Prairie, Texas 75051



                                                 April 15,        2011

                                                                                              APR 2 2 2011   '-;

The   Honorable        Elizabeth       A.    Kovachevich
Judge of the U.S.             District Court
  for    the       Middle    District       of    Florida
Sam M.    Gibbons          United    States Courthouse
801   North        Florida Avenue
Tampa,    Florida 33602

RE:     WILLIS, Melissa
        Register Number:             50575-018
        Criminal       Docket       No.:    8:08-CR-423-T-17MAP


Dear Judge Kovachevich:

     On June 25, 2009, Melissa Willis was sentenced by the Court
to a 78 month term of confinement for Conspiracy to Possess with
Intent to Distribute 50 Grams or More of Methamphetamine.  At the
time the federal sentence was imposed, Ms. Wills was under the
primary jurisdiction of state authorities in Florida, and in
federal custody pursuant to a Writ.  The respective Judgment in a
Criminal Case was silent regarding any relationship with the
forthcoming action in the State of Florida.  Following
sentencing, Ms. Willis was appropriately returned to state
authorities in Florida and the U.S. District Court Judgment was
filed    as    a    detainer.


     On July 21, 2009, Ms. Willis was sentenced in Florida to a 4
year term of confinement for Aggravated Assault on a Law
Enforcement Officer, Obstructing or Opposing an Officer, Fleeing
to Elude at High Speed and Possession of Methamphetamine.
Although Ms. Willis is currently in state custody, she has
recently submitted a request to this office for her federal
sentence       to    run    concurrent       to    her    state     sentence.        As   a    result   of
the decision in Barden v. Keohane, 921 F.2d 476 (3rd Cir. 1990),
the Bureau of Prisons (Bureau)                      will consider an inmate's request
for a retroactive (concurrent)                      designation.

        The    Bureau strives          to    administer         sentences      in accordance
with federal statutes,                Bureau policy,            and the intent of the
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sentencing court.  It is the Bureau's preference that the federal
sentencing court be given an opportunity to state its position
with respect to a retroactive designation, which, while not
binding, can be helpful in our determination to grant or deny the
request.  If, after 60 days, a response has not been received
from the Court, the Bureau will complete its review and make a
decision regarding this case.

     Should the designation be granted, the Bureau will commence
the sentence in the above judgment on the date of imposition,
which will result in Ms. Willis' release from custody on or about
May 30, 2014.  However, should the Bureau deny the request, Ms.
Willis' sentence will not be calculated until she completes her
state    sentence and   is    released   to   the    federal   detainer.


        If the Bureau makes a decision,             based on a review of all
relevant 3621(b) factors, which is contrary to the Court's stated
position, the Court will be notified accordingly.

     Should additional information be necessary, please contact
Luis A. Cabrera Jr., Operations Manager, at 972-352-4487.

                                          Sincerely,




                                                            *ir
                                          Jose      A.   Santana
                                          Chief


arr

cc:     Maria C. Lopez,      AUSA
        David C.   Tremmel,    USPO
